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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


NEW ENGLAND SPORTS                            )
NETWORK, L.P.,                                )
     Plaintiff                                )
                                              )
       v.                                     )               Criminal No. 22-CV-10024-MJJ
                                              )
ALLEY INTERACTIVE LLC (CT), and               )
ARIEL LEGASSA,                                )
     Defendants                               )

                                       Motion to Withdraw

       Undersigned counsel for Defendants Ariel Legassa and Alley Interactive LLC (CT)

hereby moves to withdraw. As grounds for this motion, counsel states Mr. Legassa has been

convicted of criminal charges arising from the same subject matter as alleged in the Complaint in

this civil matter and presently is serving a sentence of incarceration. See United States v.

Legassa, Crim. No. 22-cr-10038-IT, (the “Criminal Case”). The court in the Criminal Case has

ordered both forfeiture and restitution in the amount of $580,500. Id., Dkt. Entry 171, Order of

Forfeiture, and Dkt. Entry 175, Judgment.

       Mr. Legassa already had been declared indigent and undersigned counsel was appointed

to represent him in the Criminal Case. He has no assets and no ability to continue to pay counsel

to represent him in this case. It would cause undersigned counsel financial hardship if counsel

were required to continue to represent Mr. Legassa in this civil matter with no prospect of

receiving payment.
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       For all of the foregoing reasons, the court should allow this motion.



                                                       ARIEL LEGASSA,
                                                        by his attorney

                                                       /s/ E. Peter Parker
                                                       E. Peter Parker
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                                       Certificate of Service

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non registered participants on June 12, 2024.

                                                       /s/ E. Peter Parker
                                                       E. Peter Parker




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